                                                                             Form 1                                                                                Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 11-44385 WSD                                                            Trustee:         (420470)    Timothy J. Miller
Case Name:          LEWIS, ANGELA SWORD                                              Filed (f) or Converted (c): 02/22/11 (f)
                    LEWIS, THOMAS K.                                                 §341(a) Meeting Date:        03/30/11
Period Ending: 03/31/11                                                              Claims Bar Date:

                                 1                                   2                          3                      4                  5                   6

                     Asset Description                             Petition/           Estimated Net Value          Property          Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)               Unscheduled      (Value Determined By Trustee,    Abandoned          Received by     Administered (FA)/
                                                                    Values           Less Liens, Exemptions,       OA=§554(a)          the Estate      Gross Value of
Ref. #                                                                                   and Other Costs)          DA=§554(c)                         Remaining Assets

 1        Bank account accounts, certificates of deposit o               500.00                          0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 2        General Household Goods                                     1,000.00                           0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 3        General Household Goods                                     2,000.00                           0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 4        Personal Wearing Apparel                                       500.00                          0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 5        Personal Wearing Apparel                                       250.00                          0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 6        Jewelry                                                         50.00                          0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 7        Retirement                                                  6,500.00                           0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 8        Retirement Give particulars.                               11,026.14                           0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 9        1999 Chevy Suburban                                         3,500.00                           0.00        DA                        0.00                     FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

10        2010 tax refunds (u)                                             0.00                     10,000.00                                  0.00               10,000.00

 10      Assets          Totals (Excluding unknown values)          $25,326.14                  $10,000.00                                    $0.00           $10,000.00



      Major Activities Affecting Case Closing:

                    03/31/11 need docs 2010 ITR




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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 11-44385 WSD                                                      Trustee:        (420470)     Timothy J. Miller
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                 LEWIS, THOMAS K.                                              §341(a) Meeting Date:        03/30/11
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                                1                                     2                   3                       4                  5                  6

                    Asset Description                           Petition/        Estimated Net Value          Property           Sale/Funds        Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned           Received by    Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)           the Estate     Gross Value of
Ref. #                                                                             and Other Costs)          DA=§554(c)                         Remaining Assets

     Initial Projected Date Of Final Report (TFR):   March 22, 2012              Current Projected Date Of Final Report (TFR):     March 22, 2012




               April 26, 2011                                                           /s/ Timothy J. Miller
          __________________________                                                    _________________________________________________________________
                         Date                                                           Timothy J. Miller




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